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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §    CASE NO. 6:16CR17
                                               §
JASON RAY RAGAN (10)                           §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On November 2, 2016 this cause came before the undersigned United States Magistrate Judge

for entry of a guilty plea by the defendant, Jason Ray Ragan, on Count Twelve of the charging

Indictment filed in this cause.

       Count Twelve of the Indictment charges that, on or about October 8, 2015, in the Eastern

District of Texas, Jason Ray Ragan, defendant, did knowingly and intentionally possess with

intent to distribute methamphetamine, a Schedule II controlled substance, in violation of 21

U.S.C. Section 841(a)(1).
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       Defendant, Jason Ray Ragan, entered a plea of guilty to Count Twelve of the Indictment

into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.    That Defendant, after consultation with counsel of record, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.   That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court and entered into the record.

       c.   That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

       d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and

Defendant realizes that his conduct falls within the definition of the crimes charged under 21

U.S.C. § 841(a)(1).



                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis. In support, the Government and Defendant stipulated that if this case were to

proceed to trial the Government would prove beyond a reasonable doubt, through the sworn

testimony of witnesses, including expert witnesses, as well as through admissible exhibits, each
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and every essential element of the crime charged in Count Twelve of the Indictment. The

Government would also prove that the defendant is one and the same person charged in the

Indictment and that the events described in the Indictment occurred in the Eastern District of

Texas and elsewhere. The Court incorporates the proffer of evidence described in detail in the

factual basis in support of the guilty plea.

       Defendant, Jason Ray Ragan, agreed with and stipulated to the evidence presented in the

factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

presented by the Government and personally testified that he was entering his guilty plea

knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Twelve of the charging Indictment on file in this

criminal proceeding.     The Court also recommends that the District Court accept the plea

agreement and plea agreement addendum pursuant to the Local Rules for the United States

District Court for the Eastern District of Texas and Federal Rule of Criminal Procedure 11(c).

Accordingly, it is further recommended that, Defendant, Jason Ray Ragan, be finally adjudged

as guilty of the charged offense under Title 21, United States Code, Section 841(a)(1).

Defendant is ordered to report to the United States Probation Department for the preparation of a

presentence report. At the plea hearing, the Court admonished the Defendant that the District

Court may reject the plea and that the District Court can decline to sentence Defendant in

accordance with the plea agreement and addendum, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court
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may defer its decision to accept or reject the plea agreement and addendum until there has been

an opportunity to consider the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court

rejects the plea agreement, the Court will advise Defendant in open court that it is not bound by

the plea agreement and Defendant may have the opportunity to withdraw the guilty plea,

dependent upon the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea

agreement is rejected and Defendant still persists in the guilty plea, the disposition of the case

may be less favorable to Defendant than that contemplated by the plea agreement or addendum.

Defendant has the right to allocute before the District Court before imposition of sentence.

                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

failure to object bars that party from: (1) entitlement to de novo review by a district judge of

proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual

findings and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto.
       .
Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by

Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable

authority by considering the actual evidence and not merely by reviewing and blindly adopting

the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th

Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).
          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 2nd day of November, 2016.
